           Case 1:14-vv-00192-UNJ Document 44 Filed 12/14/15 Page 1 of 2




In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

*************************
BRUCE MCDONALD,                             *
                                            * No: 14-192V
                  Petitioner,               * Special Master Christian J. Moran
                                            *
v.                                          * Filed: November 18, 2015
                                            *
SECRETARY OF HEALTH                         * Attorneys’ fees and costs; award
AND HUMAN SERVICES,                         * in the amount to which respondent
                                            * does not object.
                  Respondent.               *
*************************
Anne C. Toale, Maglio, Christopher & Toale, PA, Sarasota, FL, for Petitioner;
Althea W. Davis, United States Dep’t of Justice, Washington, DC, for Respondent.

               UNPUBLISHED DECISION ON FEES AND COSTS1

       On November 13, 2015, petitioner filed a stipulation of fact concerning final
attorneys’ fees and costs in the above-captioned matter. Previously, petitioner
submitted a draft application for attorneys’ fees and costs to respondent for review.
Upon review of petitioner’s application, respondent raised objections to certain
items. Based on subsequent discussions, petitioner amended his application to
request $19,240.00, an amount to which respondent does not object. The Court
awards this amount.

       On March 6, 2014, Bruce McDonald filed a petition for compensation
alleging that the influenza (“flu”) vaccine, which he received on October 27, 2012,
caused him to suffer Guillain-Barré Syndrome (“GBS”). Petitioner received
compensation based upon the parties’ stipulation. Decision, issued July 10, 2015.


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          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this ruling on its website. Pursuant to Vaccine Rule 18(b), the
party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
         Case 1:14-vv-00192-UNJ Document 44 Filed 12/14/15 Page 2 of 2



Because petitioner received compensation, he is entitled to an award of attorneys’
fees and costs. 42 U.S.C. § 300aa-15(e).

      Petitioner seeks a total of $19,240.00 in attorneys’ fees and costs for his
counsel. Additionally, in compliance with General Order No. 9, petitioner has not
incurred any costs in pursuit of the claim. Respondent has no objection to the
amount requested for attorneys’ fees and costs.

        After reviewing the request, the Court awards the following:

        A lump sum of $19,240.00 in the form of a check made payable to
        petitioner and petitioner’s attorney, Maglio, Christopher & Toale, PA,
        for attorneys’ fees and other litigation costs available under 42 U.S.C. §
        300aa-15(e).

      The Court thanks the parties for their cooperative efforts in resolving this
matter. The Clerk shall enter judgment accordingly.

        Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-
6360.

        IT IS SO ORDERED.

                                              s/Christian J. Moran
                                              Christian J. Moran
                                              Special Master




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